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 9
                        UNITED STATES DISTRICT COURT
10
                       CENTRAL DISTRICT OF CALIFORNIA
11
      JOHN KRISTENSEN, individually                Case No.:
12    and on behalf of all others similarly
      situated,                                    CLASS ACTION
13
                     Plaintiff,                    COMPLAINT FOR DAMAGES
14                                                 AND INJUNCTIVE RELIEF
                            v.                     PURSUANT TO THE TELEPHONE
15                                                 CONSUMER PROTECTION ACT,
                                                   47 U.S.C. § 227, ET SEQ.
16    SPRITE ENTERTAINMENT, INC.
      DBA ANIMATION SHARKS;                        JURY TRIAL DEMANDED
17
      DOES 1-10 Inclusive,
18
                   Defendant.
19
20
                                      INTRODUCTION
21
           1.     JOHN KRISTENSEN (“Plaintiff”) bring this Class Action Complaint
22
     for damages, injunctive relief, and any other available legal or equitable remedies,
23
     resulting from the illegal actions of SPRITE ENTERTAINMENT, INC. DBA
24
     ANIMATION SHARKS (“Defendant”), in negligently contacting Plaintiff on
25
     Plaintiff’s cellular telephone, in violation of the Telephone Consumer Protection
26
     Act, 47 U.S.C. § 227 et seq., (“TCPA”), thereby invading Plaintiff’s privacy.
27
     Plaintiff alleges as follows upon personal knowledge as to himself and his own acts
28



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 1   and experiences, and, as to all other matters, upon information and belief, including
 2   investigation conducted by their attorneys.
 3         2.     The TCPA was designed to prevent calls and messages like the ones
 4   described within this complaint, and to protect the privacy of citizens like Plaintiff.
 5   “Voluminous consumer complaints about abuses of telephone technology – for
 6   example, computerized calls dispatched to private homes – prompted Congress to
 7   pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
 8         3.     In enacting the TCPA, Congress intended to give consumers a choice
 9   as to how creditors and telemarketers may call them, and made specific findings
10   that “[t]echnologies that might allow consumers to avoid receiving such calls and
11   messages are not universally available, are costly, are unlikely to be enforced, or
12   place an inordinate burden on the consumer.       TCPA, Pub.L. No. 102–243, § 11.
13   Toward this end, Congress found that
14
15                [b]anning such automated or prerecorded telephone calls to the home,
                  except when the receiving party consents to receiving the call or when
16                such calls are necessary in an emergency situation affecting the health
17                and safety of the consumer, is the only effective means of protecting
                  telephone consumers from this nuisance and privacy invasion.
18
19
           Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012
20   WL 3292838, at* 4 (N.D.Ill. Aug. 10, 2012) (citing Congressional findings on
21   TCPA’s purpose).
22         4.     Congress also specifically found that “the evidence presented to the
23   Congress indicates that automated or prerecorded calls are a nuisance and an
24   invasion of privacy, regardless of the type of call….” Id. at §§ 12-13. See also,
25   Mims, 132 S. Ct. at 744.
26         5.     As Judge Easterbrook of the Seventh Circuit recently explained in a
27   TCPA case regarding calls to a non-debtor similar to this one:
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 1        The Telephone Consumer Protection Act … is well known for its provisions
          limiting junk-fax transmissions. A less-litigated part of the Act curtails the
 2        use of automated dialers and prerecorded messages to cell phones, whose
 3        subscribers often are billed by the minute as soon as the call is answered—
          and routing a call to voicemail counts as answering the call. An automated
 4
          call to a landline phone can be an annoyance; an automated call to a cell phone
 5        adds expense to annoyance. Soppet v. Enhanced Recovery Co., LLC, 679 F.3d
 6
          637, 638 (7th Cir. 2012).

 7
           6.      The Ninth Circuit recently affirmed certification of a TCPA class case
 8
     remarkably similar to this one in Meyer v. Portfolio Recovery Associates, LLC, __
 9
     F.3d__, 2012 WL 4840814 (9th Cir. Oct. 12, 2012).
10
                                     JURISDICTION AND VENUE
11
           7.      This Court has federal question jurisdiction because this case arises
12
     out of violation of Federal Law. 47 U.S.C. §227(b): Mims v. Arrow Fin. Servs.,
13
     LLC, 132 S. Ct. 740 (2012).
14
           8.      Venue is proper in the United States District Court for the Central
15
     District of California pursuant to 18 U.S.C. § 1391(b) and 1441(a) because
16   Defendant is subject to personal jurisdiction in the County of Los Angeles, State of
17   California.
18                                            PARTIES
19         9.      Plaintiff is, and at all times mentioned herein was, a citizen and
20   resident of the State of California. Plaintiff is, and at all times mentioned herein
21   was, a “person” as defined by 47 U.S.C. § 153 (39).
22         10.     Plaintiff is informed and believes, and thereon alleges, that Defendant
23   is, and at all times mentioned herein was, a company who does business within the
24   State of California. Defendant, is and at all times mentioned herein was a “person,”
25   as defined by 47 U.S.C. § 153 (39). Defendant claims to provide custom animated
26   videos and services to grow consumer sales. Plaintiff alleges that at all times
27   relevant herein Defendant conducted business in the State of California and in the
28   County of Los Angeles, and within this judicial district.


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 1                                 FACTUAL ALLEGATIONS
 2         11.     At all times relevant, Plaintiff was a citizen of the County of Los
 3   Angeles, State of California. Plaintiff is, and at all times mentioned herein was, a
 4   “person” as defined by 47 U.S.C. § 153 (39).
 5         12.     Defendant is, and at all times mentioned herein was, a “person,” as
 6   defined by 47 U.S.C. § 153 (39).
 7         13.     At all times relevant Defendant conducted business in the State of
 8   California and in the County of Los Angeles, within this judicial district.
 9         14.     On or about September of 2017, Plaintiff received a text message from
10   Defendant on his cellular telephone, number ending in -9711.
11         15.     During this time, Defendant began to use Plaintiff’s cellular telephone
12   for the purpose of sending Plaintiff spam advertisements and/or promotional offers,
13   via text messages, including a text message sent to and received by Plaintiff on or
14   about September of 2017.
15         16.     On or about September of 2017, Plaintiff received a text message from
16   Defendant that read:
17
18               Final 1hr Left to Activate your 90% Off Custom Animated
19               Video Deal. Click Here sharkstudios.us. to Activate Now &
20               Grow your Sales 1000%. Reply STOPRM to Stop
21
22         17.     These text messages placed to Plaintiff’s cellular telephone were

23   placed via an “automatic telephone dialing system,” (“ATDS”) as defined by 47

24   U.S.C. § 227 (a)(1) as prohibited by 47 U.S.C. § 227 (b)(1)(A).

25
           18.     The telephone number that Defendant, or their agent texted was

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     assigned to a cellular telephone service for which Plaintiff incurs a charge for

27
     incoming texts pursuant to 47 U.S.C. § 227 (b)(1).

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 1         19.    These text messages constituted texts that were not for emergency
 2   purposes as defined by 47 U.S.C. § 227 (b)(1)(A)(i).
 3         20.    Plaintiff was never a customer of Defendant and never provided his
 4   cellular telephone number Defendant for any reason whatsoever. Accordingly,
 5   Defendant and their agents never received Plaintiffs prior express consent to
 6   receive unsolicited text messages, pursuant to 47 U.S.C. § 227 (b)(1)(A).
 7         21.    These text messages by Defendant, or its agents, violated 47 U.S.C. §
 8   227(b)(1).
 9                             CLASS ACTION ALLEGATIONS
10         22.    Plaintiff brings this action on behalf of herself and on behalf of and all
11   others similarly situated (“the Class”).
12         23.    Plaintiff represents, and is a member of, the Class, consisting of all
13   persons within the United States who received any unsolicited text messages from
14   Defendant which text message was not made for emergency purposes or with the
15   recipient’s prior express consent within the four years prior to the filing of this
16   Complaint.
17         24.    Defendant and their employees or agents are excluded from the Class.
18   Plaintiff does not know the number of members in the Class, but believes the Class
19   members number in the hundreds of thousands, if not more. Thus, this matter
20   should be certified as a Class action to assist in the expeditious litigation of this
21   matter.
22         25.    Plaintiff and members of the Class were harmed by the acts of

23   Defendant in at least the following ways: Defendant, either directly or through their

24   agents, illegally contacted Plaintiff and the Class members via their cellular

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     telephones by using marketing and text messages, thereby causing Plaintiff and the

26
     Class members to incur certain cellular telephone charges or reduce cellular

27
     telephone time for which Plaintiff and the Class members previously paid, and

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 1   invading the privacy of said Plaintiff and the Class members. Plaintiff and the
 2   Class members were damaged thereby.
 3         26.    This suit seeks only damages and injunctive relief for recovery of
 4   economic injury on behalf of the Class, and it expressly is not intended to request
 5   any recovery for personal injury and claims related thereto. Plaintiff reserves the
 6   right to expand the Class definition to seek recovery on behalf of additional persons
 7   as warranted as facts are learned in further investigation and discovery.
 8         27.    The joinder of the Class members is impractical and the disposition of
 9   their claims in the Class action will provide substantial benefits both to the parties
10   and to the court. The Class can be identified through Defendant’s records or
11   Defendant’s agents’ records.
12         28.    There is a well-defined community of interest in the questions of law
13   and fact involved affecting the parties to be represented. The questions of law and
14   fact to the Class predominate over questions which may affect individual Class
15   members, including the following:
16
            a)    Whether, within the four years prior to the filing of this Complaint,
17
                  Defendant or their agents sent any text messages to the Class (other
18                than a message made for emergency purposes or made with the prior
19
                  express consent of the called party) to a Class member using any
                  automatic dialing system to any telephone number assigned to a
20                cellular phone service;
21          b)    Whether Plaintiff and the Class members were damaged thereby, and
                  the extent of damages for such violation; and
22          c)    Whether Defendant and their agents should be enjoined from
23                engaging in such conduct in the future.
24
           29.    As a person that received at least one marketing and text message
25
     without Plaintiff’s prior express consent, Plaintiff is asserting claims that are
26
     typical of the Class. Plaintiff will fairly and adequately represent and protect the
27
28



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 1   interests of the Class in that Plaintiff has no interests antagonistic to any member
 2   of the Class.
 3         30.       Plaintiff and the members of the Class have all suffered irreparable
 4   harm as a result of the Defendant’s unlawful and wrongful conduct. Absent a class
 5   action, the Class will continue to face the potential for irreparable harm. In
 6   addition, these violations of law will be allowed to proceed without remedy and
 7   Defendant will likely continue such illegal conduct. Because of the size of the
 8   individual Class member’s claims, few, if any, Class members could afford to seek
 9   legal redress for the wrongs complained of herein.
10         31.       Plaintiff has retained counsel experienced in handling class action
11   claims and claims involving violations of the Telephone Consumer Protection Act.
12         32.       A class action is a superior method for the fair and efficient
13   adjudication of this controversy. Class-wide damages are essential to induce
14   Defendant to comply with federal and California law. The interest of Class
15   members in individually controlling the prosecution of separate claims against
16   Defendant are small because the maximum statutory damages in an individual
17   action for violation of privacy are minimal. Management of these claims is likely
18   to present significantly fewer difficulties than those presented in many class claims.
19         33.       Defendant have acted on grounds generally applicable to the Class,
20   thereby making appropriate final injunctive relief and corresponding declaratory
21   relief with respect to the Class as a whole.
22
                            FIRST CAUSE OF ACTION
23     NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
24                          47 U.S.C. § 227 ET SEQ.
25         34.       Plaintiff incorporates by reference all of the above paragraphs of this
26   Complaint as though fully stated herein.
27
28



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 1          35.   The foregoing acts and omissions of Defendant constitute numerous
 2   and multiple negligent violations of the TCPA, including but not limited to each
 3   and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
 4          36.   As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
 5   seq, Plaintiff and The Class are entitled to an award of $500.00 in statutory
 6   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
 7          37.   Plaintiff and the Class are also entitled to and seek injunctive relief
 8   prohibiting such conduct in the future.
 9
                             SECOND CAUSE OF ACTION
10
                     KNOWING AND/OR WILLFUL VIOLATIONS OF THE
11                     TELEPHONE CONSUMER PROTECTION ACT
12                            47 U.S.C. § 227 ET SEQ.
13
            38.   Plaintiff incorporates by reference all of the above paragraphs of this

14
     Complaint as though fully stated herein.

15
            39.   The foregoing acts and omissions of Defendant constitute numerous

16
     and multiple knowing and/or willful violations of the TCPA, including but not
     limited to each and every one of the above-cited provisions of 47 U.S.C. § 227 et
17
     seq.
18
            40.   As a result of Defendant’s knowing and/or willful violations of 47
19
     U.S.C. § 227 et seq, Plaintiff and The Class are entitled to an award of $1,500.00
20
     in statutory damages, for each and every violation, pursuant to 47 U.S.C. §
21
     227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
22
            41.   Plaintiff and the Class are also entitled to and seek injunctive relief
23
     prohibiting such conduct in the future.
24
25
                                    PRAYER FOR RELIEF
26
            Wherefore, Plaintiff respectfully requests the Court grant Plaintiff, and The
27
     Class members the following relief against Defendant:
28



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 1
 2              FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
                           THE TCPA, 47 U.S.C. § 227 ET SEQ.
 3         • As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
 4           Plaintiff seeks for himself and each Class member $500.00 in statutory
             damages, for each and every violation, pursuant to 47 U.S.C. §
 5
             227(b)(3)(B).
 6         • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
 7           conduct in the future.
           • Any other relief the Court may deem just and proper.
 8
 9            SECOND CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
                           THE TCPA, 47 U.S.C. § 227 ET SEQ.
10
           • As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
11           Plaintiff seeks for himself and each Class member $1500.00 in statutory
12           damages, for each and every violation, pursuant to 47 U.S.C. §
             227(b)(3)(B).
13
           • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
14           conduct in the future.
15         • Any other relief the Court may deem just and proper.

16
17                                     TRIAL BY JURY
18         42.    Pursuant to the seventh amendment to the Constitution of the United
19   States of America, Plaintiff is entitled to, and demands, a trial by jury.
20
21   Dated: November 21, 2018                              Respectfully submitted,
22
                                     THE LAW OFFICES OF TODD M. FRIEDMAN, P.C.
23
24
                                                              By: /s/Todd M. Friedman_
                                                                TODD M .FRIDMAN, ESQ.
25                                                             ATTORNEY FOR PLAINTIFF
26
27
28



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